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                                   STATEMENT OF FACTS


        Your affiant, Christopher J. Dillon, is a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) and have been so employed since 2004. I am currently assigned to the FBI
Washington Field Office (“WFO”) in Washington, D.C. Currently, I am a tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still under way and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On approximately January 7, 2021, a witness (“W1”) reported to law enforcement that
Richard MICHETTI (“MICHETTI”), with whom W1 had a prior romantic relationship, sent
several text messages and two videos to W1 on January 6, 2021, using his mobile phone.1 Portions
of the videos show MICHETTI on the grounds of the Capitol during the January 6, 2021, riot,
while others appear to have been filmed inside the Capitol Building.

        On January 11, 2021, W1 was interviewed by Special Agents of the FBI. W1 explained
that she had been in communication with MICHETTI via text on January 5, 2021. In some of these
messages, MICHETTI informed W1 that he was about to get on a train. At 7:14 p.m., MICHETTI
sent W1 a text that stated, “I just got to dc I’ll call when I get off”. W1 showed FBI agents two
videos and several text messages sent by MICHETTI on January 6, 2021. W1 stated that
MICHETTI was in Washington, D.C. on January 6, 2021, because MICHETTI believed the
election was stolen from President Trump. W1 provided information about MICHETTI’s cellular
device and his telephone number.

        Law enforcement observed text messages sent from MICHETTI to W1 on January 6, 2021,
which show that MICHETTI was present in Washington, D.C. during the January 6, 2021 riot.
For instance, MICHETTI texted W1 at approximately 2:06 p.m. on January 6, 2021, stating “…it’s
going down here we stormed the building they held us back with spray and teargas and paintballs.”
At approximately 2:09 p.m., MICHETTI texted W1, “Gotta stop the vote it’s fraud this is our
country.” Additionally texts sent by MICHETTE stated, “my eyes are burnitin[sic]” and
“thousands of people storming.” At approximately 2:44 p.m., on January 6, 2021, MICHETTI
sent two videos to W1 from his telephone. One video shows rioters inside the Capitol Building.
The other depicts a large interior room of the Capitol Building, where there were numerous
protestors carrying various flags and walking around yelling. MICHETTI also sent at least one
other video to W1, showing activities inside the Capitol Building. This video appears to be a re-
broadcast of a video recorded by someone else.

        At approximately 4:26 p.m., MICHETTI texted W1, “If you can’t see the election was
stolen you’re a moron,” and “This is our country do you think we live like kings because no one
sacrificed anything?” MICHETTI continued, “ . . . [T]he vote was fraud and trump won but they
won’t audit the votes. We are patriots we are not revolutionaries the other side is revolutionaries
they want to destroy this country and they say it openly. When the left banged on the doors of
congress when they congratulated for Brett kavanaugh no one got touched not one of them. We
were outside and they were shooting tear gas and pepper spray”; “They were shootin and throwin
tear gas before we even were near the building. It’s public property.”

       At around 6:04 p.m., MICHETTI sent a series of text messages to W1, which read as
follows: “I understand your point but what I’m saying is [W1’s name] the election was rigged and
1
 W1 provided law enforcement with MICHETTI’s date of birth, his address, and his phone
number.
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everyone knows it. All’s we wanted was an investigation that’s it. And they couldn’t investigate
the biggest presidential race in history with mail in ballots who everyone knows is easy to fraud”;
“This is tyranny they say there and told us ‘we rigged the election and there’s nuthin you can do
about it’ what do you think should be done?” W1 provided the FBI with copies of W1’s text
message exchanges with MICHETTI, as well as the photographs and videos sent by MICHETTI
to W1.

        Tipsters from across the country submitted images and videos of the riots to an FBI online
submission website for images and media related to the U.S. Capitol riots, and to the FBI tip line.
One of the images submitted shows MICHETTI (circled in red) standing on the U.S. Capitol steps
on January 6, 2021, among a large group of protestors and rioters (Figure 1). Figure 2 shows an
enlargement of MICHETTI from the same photo. The FBI showed this photograph to W1, who
positively identified MICHETTI as the individual depicted in the photo.




                  Figure 1 - Michetti outside the US Capitol building on 1/6/2021, verified by W1
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                        Figure 2 – Enlargement of Michetti in Figure 1, verified by W1

       Based on a description of MICHETTI and of the clothing he was wearing on January 6,
2021, additional video footage and images were identified that captured MICHETTI inside of
various parts of the U.S. Capitol, (Figures 3 through 7). Figures 4 through 7 are screenshots from
CCTV videos, and Figure 3 is an image. In each image, MICHETTI appears wearing a Chicago
White Sox baseball cap, blue backpack, dark jacket/hoodie, and tan pants. These clothing items
match the clothing worn by MICHETTI in the images shown to W1 (Figures 1 & 2).
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                   Figure 3 – Michetti Near Rotunda Door
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                         Figure 4 ‐ Rotunda
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                         Figure 5 ‐ Rotunda
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                         Figure 6 ‐ Rotunda
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                                         Figure 7 ‐ Rotunda



        The FBI obtained a printed copy of a receipt from the Yotel Hotel, located at 415 New
Jersey, NW, Washington, D.C. 20001. This receipt shows that MICHETTI checked into the Hotel
on January 5, 2021, and checked out on January 6, 2021. This hotel is located approximately 1
block from the U.S. Capitol grounds.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Richard MICHETTI violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
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business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Richard MICHETTI
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that Richard MICHETTI
violated 18 U.S.C. § 1512(c)(2), and 18 U.S.C. § 2, which make it a crime to obstruct, influence,
or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.


                                                         Special Agent Christopher J. Dillon, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of February, 2021.
                                                                            Digitally signed by G.
                                                                            Michael Harvey
                                                                            Date: 2021.02.17 14:11:29
                                                                            -05'00'
                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
